             Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 1 of 30




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       Case No. 1:21-cr-00579 (DLF)
        v.                                    :
                                              :
BRANDON STRAKA,                               :
                                              :
                 Defendant.                   :

                     GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Brandon Straka to four months of home detention, a probationary term of three

years, no less than 60 hours of community service, and $500 in restitution.

   I.         Introduction

        The defendant, Brandon Straka, is a social media influencer who live-streamed his

participation in the January 6, 2021 attack on the United States Capitol—a violent attack that

forced an interruption of the certification of the 2020 Electoral College vote count, threatened the

peaceful transfer of power after the 2020 Presidential election, injured more than one hundred law

enforcement officers, and resulted in more than one million dollars of property damage.

        Straka pleaded guilty to one count of 40 U.S.C. § 5104(e)(2)(D), Disorderly Conduct in

the Capitol Grounds. As explained herein, a four-month home detention sentence is appropriate in

this case because: (1) the defendant has a significant public profile, which he utilized to promote

his activity on January 6, (2) the defendant learned of the breach of the U.S. Capitol Building and

went to join the rioters; (3) upon arriving at the U.S. Capitol, the defendant encouraged others to



                                                  1
         Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 2 of 30




storm the U.S. Capitol; (4) the defendant recorded video of the rioters entering the U.S. Capitol;

(5) the defendant encouraged rioters to take an officer’s protective shield from the officer’s

possession, and (6) the defendant took to social media and encouraged rioters who remained at the

U.S. Capitol to “hold the line” even after he had left Capitol grounds on January 6.

       Even if he didn’t personally engage in violence or property destruction during the riot,

Straka encouraged and celebrated the violence of that day. In the lead up to January 6, Straka

posted a series of messages to his significant number of social media followers indicating that a

presidential transition cannot be allowed, that a civil war had begun, and that “we’re not going to

be peaceful much longer.” On January 6, Straka posted video footage that he filmed on January 6

to his Twitter page. In the video, Straka can be heard inciting the crowd by yelling “go, go, go”

as the crowd approached the U.S. Capitol and made entry into the U.S. Capitol.

       Straka also captured video footage of rioters aggressively taking a riot shield away from a

U.S. Capitol Police Officer who was standing near a doorway of the U.S. Capitol. Straka and

others can be heard stating “take it, take it.” The rioters successfully seized the officer’s shield

and celebrated doing so by chanting “USA.” After his departure, but while law enforcement was

still trying to clear the area, Straka tweeted out, “Patriots at the Capitol- HOLD. THE. LINE!!!!”

Due to his considerable media influence, this message was liked and retweeted by thousands of

other Twitter users.

       During a presentence interview with U.S. Probation, the defendant expressed remorse for

his actions. During his interview, the defendant stated that “if he could go back in time, he would

never have gone to Washington D.C.” Straka described his conduct on January 6 as “one of the

stupidest and tragic decisions of his life.” Straka lamented about how this incident has impacted

his life and his business. He also informed U.S. Probation that he “feels the consequences for his



                                                 2
          Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 3 of 30




actions have been quite extreme and disproportionate given his involvement in the offense is a

misdemeanor.”

         The Court must consider that Straka’s conduct on January 6, like the conduct of scores of

other defendants, took place in the context of a large and violent riot that relied on numbers to

overwhelm law enforcement, breach the Capitol, and disrupt the proceedings. But for his actions

alongside so many others, the riot likely would have failed. See United States v. Matthew

Mazzocco, 1:21-cr-00054 (TSC), Tr. 10/4/2021 at 25 (“A mob isn't a mob without the numbers.

The people who were committing those violent acts did so because they had the safety of

numbers.”) (statement of Judge Chutkan).

         Here, Straka’s participation in a riot that actually succeeded in halting the Congressional

certification combined with his celebration and endorsement of the unauthorized entry of the U.S.

Capitol and violent conduct of the rioters to his hundreds of thousands of followers, his act of

encouraging rioters to take a U.S. Capitol Police officer’s shield, and the need for deterrence

renders a four-month home detention sentence both necessary and appropriate in this case.

   II.      Factual and Procedural Background

                             The January 6, 2021 Attack on the Capitol

         To avoid exposition, the government refers to the general summary of the attack on the

U.S. Capitol. See ECF 26 (Statement of Offense), at 1-10. As this Court knows, a riot cannot occur

without rioters, and each rioter’s actions – from the most mundane to the most violent –

contributed, directly and indirectly, to the violence and destruction of that day. With that backdrop

we turn to the defendant’s conduct and behavior on January 6.




                                                  3
          Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 4 of 30




                Brandon Straka’s Role in the January 6, 2021 Attack on the Capitol

        Straka is a former hair stylist who posted a testimonial video to YouTube on June 29, 2018

that went viral, garnering more than 41,000 likes and more than 890,000 views. Brandon Straka,

Why I left the Democrat Party, https://www.youtube.com/watch?v=51UGcghHZsk (last viewed

Dec. 16, 2021). Straka used this exposure to become a social media influencer and political leader,

as the founder and president of the “#WalkAway Campaign.” See ECF 28 at ¶ 57.                            This

organization is comprised of the #WalkAway Foundation, a 501(c)(3) not-for-profit organization, 1

and the #WalkAway Campaign PAC, a political action committee. 2                       As chairman of the

foundation, Straka has reported that he works 60 hours per week to facilitate the organization’s

mission to “provide fact-based education through media, live events, speaking engagements, and

college campus tours.” Internal Revenue Service (2020) Form 990: Return of Organization

Exempt from Income Tax: WalkAway Foundation at 2, 7. (available as “IRS Annual Return” at

https://www.charitiesnys.com/RegistrySearch/show_details.jsp?id={E0F85A6A-0000-CE1E-

92F3-A503D3E0CF0A}). In December 2020, the #WalkAway Foundation reported $648,464 in

revenue for the prior year. Id. #WalkAway PAC reported gross receipts of $29,101 for the same

period. Federal Elections Commission (2020) Report of Receipts and Disbursements for Other

Than    An    Authorized      Committee:      #Walkaway       Campaign       PAC     at   2   (available    at

https://docquery.fec.gov/pdf/613/202101299414039613/202101299414039613.pdf#navpanes=0)

In addition to his fundraising success, Straka has cultivated a substantial social media following,




1
 See #WalkAway Foundation website, located at https://www.walkawayfoundation.org/ (describing the organization
as “our non-profit 501c3 organization, evolved organically from an avalanche of grassroots support for a single
YouTube post.”) (last visited on December 16, 2021).
2
 See #WalkAway Campaign PAC website, located at https://www.walkawaypac.org/ (last visited on December 16,
2021).

                                                      4
         Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 5 of 30




with more than 211,000 current subscribers to his #WalkAway Campaign YouTube channel 3 and,

as of January 6, 2021, more than 660,000 Twitter followers. 4 It was in his role as a high-profile

president of a political organization and charitable foundation that led Straka to travel the country

in the lead up to and in the wake of the 2020 election.

       Following the election, Straka stoked the passions of his followers, frequently telling the

“Patriots” that it was time to “rise up” as part of a “civil war.” Many of these messages contain

rhetorical flourishes that are common in political speech. However, some of Straka’s references

to concrete planning and action could reasonably have been interpreted by some readers as a call

for more than just a figurative struggle. In early December 2020, Straka sent out messages

informing them that they “could not allow” a presidential transition and encouraging his followers

to prepare for a civil war. Gov. Figure A. Gov. Figure B.




3
  #WalkAway Campaign YouTube Channel,
https://www.youtube.com/c/WalkAwayCampaign/videos?view=0&sort=p&flow=grid (last visited December 16,
2021)
4
  Twitter page for @BrandonStraka, archived on January 6, 2021 (available at
https://web.archive.org/web/20210106082331/https://twitter.com/BrandonStraka)

                                                   5
         Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 6 of 30




                                             Gov. Figure A




                                             Gov. Figure B

Then, on December 19, 2020, Straka shared a video of and quoted an individual who stated that it

was his intention not to be “peaceful for much longer.” Gov. Figure C; original video available at


                                                6
         Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 7 of 30




https://twitter.com/speakupmoveout/status/1340274672768827394 (last viewed January 13,

2021). Straka’s post, which was viewed more than 100,000 times, included a message that it was

time to “rise up!” Id.




                                             Gov. Figure C

       It was in this context that Straka traveled to Washington D.C. on January 4, 2021, from

where he had been working on the special election in Atlanta, Georgia to attend several “Stop the

Steal” events where he would be a featured speaker. See ECF 28 at ¶ 17. One of the more

prominent of these was a large rally on January 5, 2021 at Freedom Plaza in Northwest, DC. LIVE

NOW: Crowds have gathered for the “Stop the Steal rally in Washington, DC.                 WPTV

NewsChannel 5 (available at https://www.facebook.com/WPTV5/videos/live-stop-the-steal-rally-

in-washington-dc/209369994185413/).       During his five-minute long speech, Straka again used

common rhetorical flourishes, referring to the rally attendees as “patriots,” and referenced a

“revolution” multiple times. Id. at 32:27-37:18 Straka directed the attendees to “fight back.” Id.




                                                7
          Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 8 of 30




The next day, January 6, 2021, Straka attended the “Rally to Save America” on the White House

Ellipse and then planned to travel to an area near the U.S. Capitol Building where he was going to

give another speech. See ECF 1, p. 2 at ¶ 3 Straka used the Metro to travel to the U.S. Capitol.

Id. While traveling to the U.S. Capitol, he received alerts on his telephone stating that former Vice

President Mike Pence was “not going to object to certifying Joe Biden.” Id. Straka continued to

make his way to the U.S. Capitol. Id. While walking, Straka learned that the U.S. Capitol had

been breached. Id. Straka estimated that he got off of the Metro sometime between 2:00 p.m. and

2:20 p.m. before making his way to the U.S. Capitol grounds. See ECF 28, at ¶ 18.

         Upon arriving at the U.S. Capitol from the east side, Straka observed a crowd of people

outside of the U.S. Capitol. Undeterred, Straka made his way through the crowd, into the restricted

area of the U.S. Capitol grounds, and up the East Front steps of the U.S. Capitol. While in the

restricted area, Straka observed the crowd yelling and U.S. Capitol Police trying to prevent people

from going into the U.S. Capitol.

        Straka recorded himself while in this restricted area. 5 As Straka stood outside of the U.S.

Capitol, he observed people attempting to make entry into the U.S. Capitol. Straka can be heard

stating, “We’re going in. They’re saying we’re going in. People are going in.” See Exhibit 1. As

the crowd moves forward, Straka can be heard stating, “go, go, go.” See ECF 26, at ¶ 9. Straka

was standing a mere 10 to 20 feet away East Rotunda Doors while encouraging the rioters to enter

the U.S. Capitol. See ECF 1, p. 2 at ¶ 5.

        Straka continued to film the mayhem and the chaos outside of the U.S. Capitol. He denied

seeing any vandalism or acts of violence. See ECF 28, at ¶ 25. Nevertheless, the chanting crowd


5
 A member of the public recorded Straka’s January 6 video posting and, after it was taken down, independently
published it on YouTube. Brandon Straka attacking the Capitol on January 6th (available at
https://www.youtube.com/watch?app=desktop&v=kEAIsOfUoEs&feature=emb_title). The government has
provided the Court with this video via USAfx. The video is named “Exhibit 1: Straka- January 6 video.”

                                                        8
         Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 9 of 30




continued to make entry into the U.S. Capitol while making statements such as “This is our house”

and “This is our country, and we are taking it back.” See Exhibit 1.

       Straka continued to film while rioters forcefully removed a police officer’s shield from his

possession. See ECF 28, at ¶ 18. See also Exhibit 1. The crowd can be heard chanting “take it,

take it.” Id. Straka chants along with the crowd as the rioters successfully pulled the shield away

from the officer as he struggled to maintain possession of his shield. See ECF 1, pp. 4-7. A large

group of people then simultaneously pushed toward the officer as Straka and others chanted,

“USA!” Id. The officer was able to get his shield back. Id. There is no indication that Straka

participated in removing the shield from the officer. Yet, Straka does nothing to discourage the

rioters from removing the shield. Instead, Straka encouraged the rioters to take the shield away

from the officer.

       Straka made his way within feet of the threshold of the East Rotunda Doors of the U.S.

Capitol. Numerous rioters entered the U.S. Capitol. Many more attempted to enter. While

standing near the entrance, Straka was exposed to tear gas that was released inside of the U.S.

Capitol by U.S. Capitol Police Officers. See ECF 1, p. 5 at ¶ 2. Despite this, at no point did Straka

discourage the rioters from making entry. Straka continued to film himself, this time turning the

camera towards his face and stating: “They are using gas right now. We are being gassed.” Id.

Straka wore a black colored beanie, sunglasses, a face mask, and a plaid-patterned coat. Gov.

Figure D.




                                                 9
        Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 10 of 30




                                              Gov. Figure D

       Thereafter, a male exiting the U.S. Capitol could be heard saying, “We did our job…We

got our job done.” This individual then said, “Let’s get out of here.” Another individual stated,

“Mission accomplished.” See Exhibit 1. See also See ECF 1, p.6 at ¶ 1. The video ended with

Straka standing outside of the U.S. Capitol. Id. Straka estimates that he stood outside of the U.S.

Capitol for approximately fifteen minutes, and then left without having entered the building. See

ECF 28, at ¶ 18. As stated in the executed Statement of Facts, Straka knew that he did not have

permission to enter the Grounds when he did so on January 6. See ECF26. Straka knew that

Congress was in session on January 6, 2021. Id. Straka intended to disrupt that session of Congress.

Id.

       At 2:33 pm on January 6, 2021, Michael Coudrey, the national coordinator for Stop the

Steal, sent a message to a group chat telling those in the chat that the event that Straka was

scheduled to speak at would be delayed because “They stormed the capital[sic].” Joshua Kaplan

and Joaquin Sapien, New Details Suggest Sernior Trump Aides Knew Jan. 6 Rally Could Get

Chaotic, ProPublica (June 25, 2021) available at https://www.propublica.org/article/new-details-


                                                10
        Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 11 of 30




suggest-senior-trump-aides-knew-jan-6-rally-could-get-chaotic (last visited December 16, 2021).

Straka responded, “I just got gassed! Never felt so fucking alive in my life!!!” Id. Later, as law

enforcement was still working to clear rioters from Capitol grounds, Straka encouraged them to

continue fighting:




                                             Gov. Figure E

Straka posted the video of himself on the grounds of the U.S. Capitol on January 6 on his personal

Twitter page. On January 11, the FBI learned of this posting after receiving a tip about the video

being posted on Twitter. See ECF 1, p. 2 at ¶ 1. When the FBI attempted to view the video on the

evening of January 11, the video had been removed. Id.

       Straka also posted a thread on January 6 summing up his thoughts on the day:

       • “I arrived at the Capitol a few hours ago as Patriots were storming from all sides. I was
       quite close to entering myself as police began tear gassing us from the door. I inhaled tear
       gas & got it in my eyes. Patriots began exiting shortly after saying Congress had been
       cleared.”
       • “I’m completely confused. For 6-8 weeks everybody on the right has been saying ‘1776!’
       & that if congress moves forward it will mean a revolution! So congress moves forward.
       Patriots storm the Capitol – now everybody is virtual signaling their embarrassment that
       this happened.”
       • “Also- be embarrassed & hide if you need to- but I was there. It was not Antifa at the
       Capitol. It was freedom loving Patriots who were DESPERATE to fight for the final hope

                                               11
 Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 12 of 30




of our Republic because literally nobody cares about them. Everyone else can denounce
them. I will not.”

• “Perhaps I missed the part where it was agreed this would be a revolution of ice cream
cones & hair-braiding parties to take our government back from lying, cheating globally
interested swamp parasites. My bad.” Gov. Figure F




                                 Gov. Figure F




                                       12
           Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 13 of 30




                                            Social Media Posts

        On January 6, Straka posted comments to his Twitter account while he was at the U.S.

Capitol. Straka promoted the riot and did not speak against the conduct of the rioters or his own

conduct. Straka also posted the video that he recorded while at the U.S. Capitol to Twitter.

        The following day, Straka posted a 58-minute video to his Twitter account. 6 See Exhibit 2.

In this video, Straka recounted the events of January 6. Straka used this posting to clarify comments

that he made on Twitter on January 6 after he left the U.S. Capitol. Straka stated, “It was not

Antifa, it was patriots desperate to be heard. When I made that comment on Twitter, I had no idea

that there was any vandalism or violence or any of that stuff. I literally saw people walking through

an open door, and for anyone who doubts my story, I have it all on video. I have the entire thing

on video.” While Straka had an immense platform to denounce his own conduct and the conduct

of the rioters, he elected not to do so and instead doubled down on his inflammatory rhetoric.

                                             Straka’s Interview

        Straka was arrested on January 25, 2021. Straka voluntarily agreed to be interviewed by

FBI. Straka’s initial interview occurred on February 17, 2021. Straka recounted what occurred on

January 6. Straka denied seeing any police officers as he walked to the U.S. Capitol. He also

denied seeing any barriers or signage indicating that the U.S. Capitol was closed. Straka denied

removing the posts out of fear of getting arrested. Instead, he explained that he removed the videos

because he felt “ashamed.” He denied knowing that people were “attacking, hurting, and killing

people.”




6
 The government has provided the Court with this video via USAfx. The video is named “Exhibit 2: Straka-
January 7 video.”


                                                      13
          Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 14 of 30




        Straka described seeing people “clustered” and “packed in” near the entrance to the U.S.

Capitol. He admitted to video recording the event and later posting and removing the videos from

Twitter. He also admitted knowing that the rioters were entering the U.S. Capitol without

authorization and with the intent to interfere with Congress. Straka provided additional information

to the FBI regarding the events leading up to and during January 6.

        After this initial interview, the FBI met with Straka a second time on March 25, 2021 with

follow-up questions. Straka was cooperative during the interviews.

        On January 5, 2022, Straka met with prosecutors from the United States Attorney’s Office

and the FBI a third time. The purpose of the interview was for the government to ask Straka follo-

up questions. Consistent with his previous interviews, Straka was cooperative. The interviews

were conducted in anticipation of the plea agreement that defendant would later enter. 7

                                    The Charges and Plea Agreement

        On January 20, 2021, Straka was charged by complaint with violating 18 U.S.C. §

231(a)(3), impeding a law enforcement officer during civil disorder; 18 U.S.C. §§ 1752(a)(1) and

(2), knowingly entering and remaining on restricted grounds without lawful authority and/or

engaging in disorderly conduct within proximity to a restricted building to impede official

functions; and 40 U.S.C. §§ 5104(e)(2)(D), engaging in disorderly conduct with the intent to

disturb a hearing before Congress.

        On September 15, 2021, Straka was charged in one-count Information with violating 40

U.S.C. §§ 5104(e)(2)(D). On October 5, 2021, the government filed a Superseding Information

charging Straka with 40 U.S.C. §§ 5104(e)(2)(D). By plea agreement, Straka agreed to pay $500

in restitution to the Department of the Treasury.


7
  The government will supplement this filing with a sealed addendum that will provide this Court with information
related to Brandon Straka’s interviews.

                                                       14
           Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 15 of 30




   III.      Statutory Penalties

          The defendant now faces a sentencing on a single count of 40 U.S.C. § 5104(e)(2)(D). As

noted by the plea agreement and the U.S. Probation Office, the defendant faces up to six months

of imprisonment and a fine of up to $5,000. The defendant must also pay restitution under the

terms of his or her plea agreement. See 18 U.S.C. § 3663(a)(3); United States v. Anderson, 545

F.3d 1072, 1078-79 (D.C. Cir. 2008). As this offense is a Class B Misdemeanor, the Sentencing

Guidelines do not apply to it. 18 U.S.C. § 3559; U.S.S.G. §1B1.9.

   IV.       Sentencing Factors Under 18 U.S.C. § 3553(a)

          In this misdemeanor case, sentencing is guided by 18 U.S.C. § 3553(a), which identifies

the factors a court must consider in formulating the sentence. Some of those factors include: the

nature and circumstances of the offense, § 3553(a)(1); the history and characteristics of the

defendant, id.; the need for the sentence to reflect the seriousness of the offense and promote

respect for the law, § 3553(a)(2)(A); the need for the sentence to afford adequate deterrence, §

3553(a)(2)(B); and the need to avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct. § 3553(a)(6).

          In this case, as described below, some of the Section 3553(a) factors weigh in favor of

incarceration and some support a more lenient sentence. Conceding the fact that Straka did not

enter the U.S. Capitol, the government believes that the following factors weigh in favor of

incarceration: (1) the defendant has a significant public profile, which he utilized to promote his

activity on January 6, (2) the defendant learned of the breach of the U.S. Capitol Building and

went to join the rioters; (3) upon arriving at the U.S. Capitol, the defendant encouraged others to

storm the U.S. Capitol; (4) the defendant recorded video of the rioters entering the U.S. Capitol;

(5) the defendant encouraged rioters to take an officer’s protective shield from the officer’s



                                                15
         Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 16 of 30




possession, and (6) the defendant took to social media and encouraged rioters who remained at the

U.S. Capitol to “hold the line” even after he had left Capitol grounds on January 6. Nevertheless,

in addition to the fact that he did not enter the Capitol Building and did not initially witness

violence as he approached from the east front, the government has given considerable weight to

Straka’s early willingness to agree to be interviewed by law enforcement and acknowledge his

wrongdoing. Straka’s participation in three interviews made at the government’s request as well

as what appear to be sincere expressions of remorse serve as a strong counter to his aggravating

conduct, namely, his abuse of his responsibility as a public figure not to agitate and inflame the

passions of a riotous mob. The government therefore believes a long sentence of home detention

is sufficient to punish the defendant.

            A. The Nature and Circumstances of the Offense

        The attack on the U.S. Capitol, on January 6, 2021 is a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms; indeed, it was the one of

the only times in our history when the building was literally occupied by hostile participants. By

its very nature, the attack defies comparison to other events.

        While each defendant should be sentenced based on their individual conduct, as we now

discuss, this Court should note that each person who entered Capitol grounds on January 6 without

authorization did so under the most extreme of circumstances. As they approached the Capitol

Building, they would—at a minimum—have crossed through numerous barriers and barricades

and heard the throes of a mob. Depending on the timing and location of their approach, they also

may have observed extensive fighting with law enforcement officials and smelled chemical

irritants in the air. No rioter was a mere tourist that day.




                                                   16
        Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 17 of 30




       Additionally, while looking at the defendant’s individual conduct, we must assess such

conduct on a spectrum. This Court, in determining a fair and just sentence on this spectrum, should

look to a number of critical factors, to include: (1) whether, when, how the defendant entered the

Capitol building; (2) whether the defendant encouraged violence; (3) whether the defendant

encouraged property destruction; (4) the defendant’s reaction to acts of violence or destruction;

(5) whether during or after the riot, the defendant destroyed evidence; (6) the length of the

defendant’s time inside of the building, and exactly where the defendant traveled; (7) the

defendant’s statements in person or on social media; (8) whether the defendant cooperated with,

or ignored commands from law enforcement officials; and (9) whether the defendant demonstrated

sincere remorse or contrition. While these factors are not exhaustive nor dispositive, they help to

place each defendant on a spectrum as to their fair and just punishment.

       To be clear, had the defendant personally engaged in violence or destruction, he or she

would be facing additional charges and/or penalties associated with that conduct. The absence of

violent or destructive acts on the part of the defendant is therefore not a mitigating factor in

misdemeanor cases, nor does it meaningfully distinguish the defendant from most other

misdemeanor defendants.

       Here, Straka deliberately decided to go towards the chaos, destruction, and violence that

occurred at the U.S. Capitol. Prior to arriving, Straka heard that the U.S. Capitol had been

breached. He also learned that the event that he had been scheduled to speak at had been cancelled.

Instead of not going to the U.S. Capitol, Straka went to join the crowd. Because he arrived by

Metrorail, Straka approached the building from the east side, avoiding the largest crowds and not

seeing some of the most significant violence that day. However, upon arriving, Straka encouraged

rioters to enter the U.S. Capitol while perceiving through the sights, sounds, and smells



                                                17
         Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 18 of 30




surrounding him that this was not permitted. He also encouraged rioters to remove the officer’s

shield while the officer was attempting to prevent rioters from entering the U.S. Capitol. Straka

recorded the chaos and heard the rioters as they chanted remarks such as “this is our house,” and

“this is our country.” At no time did Straka turn away. Instead, Straka aligned himself with the

rioters by making comments such as “We’re going in. They’re saying we’re going in.” Straka

participated in the chants and yelling that occurred outside of the U.S. Capitol.

       After the U.S. Capitol breach, Straka proudly posted the video footage that he recorded.

Straka later removed the videos after posting them.

       These facts are important as they show that Straka knowingly and willfully decided to

participate in the breach of the U.S. Capitol. Straka’s decision to converge on the Capitol after

learning that it has been “breached,” coupled with his Twitter posts clearly reveals Straka’s intent.

Straka clearly sponsored the video by posting the January 6 and January 7, 2021 videos on Twitter,

as well as making written posts on January 6. While Straka did not enter the U.S. Capitol, he stood

by while others did so. He chanted with the rioters, encouraged them to enter the U.S. Capitol,

and celebrated the unauthorized entries into the U.S. Capitol. Exhibit 1 encapsulates Straka’s

posture on that day.

       Straka stood at the entrance of the East Rotunda Doors as rioters attempted to enter despite

the presence of officers near the door. Alarms from inside the U.S. Capitol can be heard in the

background as Straka approaches the doorway’s entrance: a loud, high-pitched, continuous

beeping, similar to a smoke alarm. If Straka was unaware that his and the rioters’ presence was

not authorized, he should have known it when he heard the sound of the alarms. Additionally, as

Straka approached the doorway, he was met by the smell of tear gas that had been deployed by




                                                 18
         Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 19 of 30




officers inside of the U.S. Capitol. This, again, should have signaled to Straka that his presence

on the U.S. Capitol grounds was unauthorized.

       Straka’s January 6 statements on social media demonstrate an endorsement of what he saw.

Straka told the “patriots at the Capitol” to “hold the line.” Straka then boasted about being at the

U.S. Capitol explaining that he was close to entering before being tear gassed. The video footage

and Straka’s statement suggests that, but for coming into contact with tear gas, Straka may have

entered the U.S. Capitol. Straka expressly justified the activities of the “patriots” by stating that

he refused to denounce their activities. Straka’s statements in the immediate aftermath of January

6 show a total lack of remorse. After leaving the U.S. Capitol, Straka proudly posted about his

conduct and that of his “patriots.” In his 58-minute video, Exhibit 2, Straka justified his conduct

and that of the rioters, while also acknowledging that he did not observe violence or destruction.

It was not until his initial interview with FBI later that month that Straka expressed remorse for

his behavior. During his interview, Straka told agents that he removed his Twitter videos because

he felt ashamed of his conduct. This statement, however, was made post-arrest. There is no

indication that Straka used his social media to disavow what occurred on January 6 prior to meeting

with agents.

           B. The History and Characteristics of the Defendant

       As set forth in the PSR, Straka does not have a criminal history. See ECF 28 ¶¶ 29-31.

Straka is self-employed and the founder and president of the #Walkaway Campaign, a successful

political nonprofit. As a high-profile public figure with a large social media following, Straka’s

actions on January 6 inflamed a dangerous situation. Straka encouraged rioters to enter the U.S.

Capitol, both in person and on social media, and continued to encourage them to “hold the line”

even after he had personally left the area.



                                                 19
          Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 20 of 30




        In the aftermath of the riot, Straka continued to display pride in having attended the U.S.

Capitol breach as evidenced by his social media communications. Straka has indicated that his

decision to attend the U.S. Capitol breach was “stupid and a tragic decision.” In his interview with

FBI, Straka stated that he did not know that violence and death would occur that day. He then

expressed shame for participating in the event. Yet, it is worth pointing out that Straka believes

that “the consequences for his actions this far have been quite extreme and disproportionate given

his involvement.” Straka also believes that he is misunderstood. He has also expressed concern

about how his business has been affected. ECF 28 ¶¶ 23-25. These statements indicate that Straka

does not understand the gravamen of his conduct and that of the rioters on January 6.

        Accordingly, the nature and the circumstances of this offense establish the clear need for a

long sentence of home detention in this matter.

             C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
                and Promote Respect for the Law

        The attack on the U.S. Capitol building and grounds was an attack on the rule of law. “The

violence and destruction of property at the U.S. Capitol on January 6 showed a blatant and

appalling disregard for our institutions of government and the orderly administration of the

democratic process.” 8 As with the nature and circumstances of the offense, this factor supports a

sentence of incarceration, as it will in most cases, including misdemeanor cases, arising out of the

January 6 riot. See United States v. Joshua Bustle and Jessica Bustle, 21-cr-238-TFH, Tr. 08/24/21

at 3 (“As to probation, I don't think anyone should start off in these cases with any presumption of




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  Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight         and       Reform         Committee         (June       15,       2021),   available   at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20
Testimony.pdf

                                                       20
          Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 21 of 30




probation. I think the presumption should be that these offenses were an attack on our democracy

and that jail time is usually -- should be expected”) (statement of Judge Hogan).

            D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

         General Deterrence

         The demands of general deterrence weigh in favor of incarceration, as they will for nearly

every case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. For the violence at the Capitol on January

6 was cultivated to interfere, and did interfere, with one of the most important democratic processes

we have: the peaceful transfer of power to a newly elected President. As noted by Judge Moss

during sentencing, in United States v. Paul Hodgkins, 21-cr-188-RDM:

         [D]emocracy requires the cooperation of the governed. When a mob is prepared to
         attack the Capitol to prevent our elected officials from both parties from performing
         their constitutional and statutory duty, democracy is in trouble. The damage that
         [the defendant] and others caused that day goes way beyond the several-hour delay
         in the certification. It is a damage that will persist in this country for decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was seven

months ago for the United States and our diplomats to convince other nations to pursue democracy.

It means that it will be harder for all of us to convince our children and our grandchildren that

democracy stands as the immutable foundation of this nation.” Id. at 70; see United States v.

Thomas Gallagher, 1:21-CR-00041 Tr. 10/13/2021 at 37 (“As other judges on this court have




                                                  21
            Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 22 of 30




recognized, democracy requires the cooperation of the citizenry. Protesting in the Capitol, in a

manner that delays the certification of the election, throws our entire system of government into

disarray, and it undermines the stability of our society. Future would-be rioters must be

deterred.”) (statement of Judge Nichols at sentencing).

           The gravity of these offenses demands deterrence. This was not a protest. See United States

v. Paul Hodgkins, 21-cr-188-RDM, Tr. at 46 (“I don’t think that any plausible argument can be

made defending what happened in the Capitol on January 6th as the exercise of First Amendment

rights.”) (statement of Judge Moss). And it is important to convey to future potential rioters—

especially those who intend to improperly influence the democratic process—that their actions

will have consequences. There is possibly no greater factor that this Court must consider.

           Specific Deterrence

           As a public figure who continues to have a large social media following, Straka has a

responsibility to ensure that his rhetorical flourishes do not endanger others. Straka cheered the

crowd that breached the U.S Capitol; he celebrated the breach by posting video to Twitter; he

encouraged rioters to take a police officer’s shield by chanting “Take the shield” and “USA” after

the shield was taken. Although Straka did not enter the Capitol Building after coming into contact

with tear gas, he stood by while alarms blared and continued to film individuals entering the U.S.

Capitol and encouraged rioters to enter. Even after experiencing these things and deciding to

personally leave Capitol grounds, he took to social media to encourage those rioters who remained

to continue to “hold the line.” In the context of his public prominence, these are aggravating

factors.

           As of the date of this filing, Straka has expressed remorse. The government acknowledges

that Straka accepted responsibility early by entering into this plea agreement and was cooperative



                                                   22
        Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 23 of 30




with law enforcement. Therefore, a long home detention sentence appears to be necessary to deter

the defendant.

           E. The Need to Avoid Unwarranted Sentencing Disparities

       As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, such as

in this case, to assault on law enforcement officers, to conspiracy to corruptly interfere with

Congress. 9 Each offender must be sentenced based on their individual circumstances, but with the

backdrop of the January 6 riot in mind. Moreover, each offender’s case will exist on a spectrum

that ranges from conduct meriting a probationary sentence to crimes necessitating years of

imprisonment. The misdemeanor defendants will generally fall on the lower end of that spectrum,

but misdemeanor breaches of the Capitol on January 6, 2021 were not minor crimes. A

probationary sentence should not necessarily become the default. 10 Indeed, the government invites

the Court to join Judge Lamberth’s admonition that “I don’t want to create the impression that

probation is the automatic outcome here because it’s not going to be.” United States v. Anna

Morgan-Lloyd, 1:21-cr-00164 (RCL), Tr. 6/23/2021 at 19; see also United States v. Valerie Ehrke,



9
  Attached to this supplemental sentencing memorandum is a table providing additional
information about the sentences imposed on other Capitol breach defendants. That table also
shows that the requested sentence here would not result in unwarranted sentencing disparities.
10
   Early in this investigation, the Government made a very limited number of plea offers in
misdemeanor cases that included an agreement to recommend probation, including in United
States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-
cr-00097(PFF); and United States v. Donna Sue Bissey, 1:21-cr-00165(TSC). The government is
abiding by its agreements in those cases, but has made no such agreement in this case. Cf. United
States v. Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015) (no unwarranted sentencing
disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead guilty under a “fast-track”
program and those who do not given the “benefits gained by the government when defendants
plead guilty early in criminal proceedings”) (citation omitted).


                                               23
        Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 24 of 30




1:21-cr-00097 (PFF), Tr. 9/17/2021 at 13 (“Judge Lamberth said something to the effect . . . ‘I

don't want to create the impression that probation is the automatic outcome here, because it's not

going to be.’ And I agree with that. Judge Hogan said something similar.”) (statement of Judge

Friedman).

       The government and the sentencing courts have already begun to make meaningful

distinctions between offenders. Those who engaged in felonious conduct are generally more

dangerous, and thus, treated more severely in terms of their conduct and subsequent punishment.

Those who trespassed, but engaged in aggravating factors, merit serious consideration of

institutional incarceration. Those who trespassed, but engaged in less serious aggravating factors,

deserve a sentence more in line with minor incarceration or home detention.

       The defendant has pleaded guilty to Count One of the Superseding Information, charging

him with disorderly and disruptive conduct in Capitol grounds, a violation of 40 U.S.C.

§ 5104(e)(2)(D). This offense is a Class B misdemeanor. 18 U.S.C. § 3559. Certain Class B and C

misdemeanors and infractions are “petty offenses,” 18 U.S.C. § 19, to which the Sentencing

Guidelines do not apply, U.S.S.G. 1B1.9. The sentencing factors set forth in 18 U.S.C. § 3553(a),

including “the need to avoid unwarranted sentence disparities among defendants with similar

records who have been found guilty of similar conduct,” 18 U.S.C.A. § 3553(6), do apply,

however.

       For one thing, although all the other defendants discussed below participated in the Capitol

breach on January 6, 2021, many salient differences—such as how a defendant entered the Capitol,

how long she remained inside, the nature of any statements she made (on social media or

otherwise), whether she destroyed evidence of his participation in the breach, etc.—help explain

the differing recommendations and sentences.         And as that discussion illustrates, avoiding



                                                24
         Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 25 of 30




unwarranted disparities requires the courts to consider not only a defendant’s “records” and

“conduct” but other relevant sentencing criteria, such as a defendant’s expression of remorse or

cooperation with law enforcement. See United States v. Hemphill, 514 F.3d 1350, 1365 (D.C. Cir.

2008) (no unwarranted disparity regarding lower sentence of codefendant who, unlike defendant,

pleaded guilty and cooperated with the government).

       Moreover, assessing disparities, and whether they are unwarranted, requires a sufficient

pool of comparators. In considering disparity, a judge cannot “consider all of the sentences not yet

imposed.” United States v. Godines, 433 F.3d 68, 69–71 (D.C. Cir. 2006). “The most a judge can

do is consider those other sentences that do exist,” and “[t]he comparable sentences will be much

smaller in the early days of any sentencing regime than in the later.” Id.; see generally United

States v. Accardi, 669 F.3d 340, 346 (D.C. Cir. 2012) (“Without more, two allegedly similar cases

constitute too small a sample size to support a finding of an ‘unwarranted disparity’ in sentences.”).

In cases for which the Sentencing Guidelines apply, “[t]he best way to curtail ‘unwarranted’

disparities is to follow the Guidelines, which are designed to treat similar offenses and offenders

similarly.” United States v. Bartlett, 567 F.3d 901, 908 (7th Cir. 2009). See id. (“A sentence within

a Guideline range ‘necessarily’ complies with § 3553(a)(6).”). Because the Sentencing Guidelines

do not apply here, the sentencing court cannot readily conduct a disparity analysis against a

nationwide sample of cases captured by the Sentencing Guidelines.

       Even in Guidelines cases, sentencing courts are permitted to consider sentences imposed

on co-defendants in assessing disparity. E.g., United States v. Knight, 824 F.3d 1105, 1111 (D.C.

Cir. 2016); United States v. Mejia, 597 F.3d 1329, 1343-44 (D.C. Cir. 2010); United States v. Bras,

483 F.3d 103, 114 (D.C. Cir. 2007). The Capitol breach was sui generis: a mass crime with

significant distinguishing features, including the historic assault on the seat of legislative branch



                                                 25
         Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 26 of 30




of federal government, the vast size of the mob, the goal of impeding if not preventing the peaceful

transfer of Presidential power, the use of violence by a substantial number of rioters against law

enforcement officials, and large number of victims. Thus, even though many of the defendants

were not charged as conspirators or as codefendants, the sentences handed down for Capitol breach

offenses is an appropriate group for purposes of measuring disparity of any future sentence.

       As the number of sentences in the Capitol breach misdemeanor cases increase and the pool

of comparators grows, the effect on sentences of obviously aggravating considerations should

become more apparent. The same is true for obviously mitigating factors, such as a defendant’s

efforts to prevent assaults on police.

       While no previously sentenced case contains the same balance of aggravating and

mitigating factors present here, the Court may also consider the sentence imposed in cases with

similarities in this case. Here, the government argues that the following aggravating factors should

be considered for sentencing: (1) the defendant has a significant public profile, which he utilized

to promote his activity on January 6, (2) the defendant learned of the breach of the U.S. Capitol

and went to join the rioters; (3) upon arriving at the U.S. Capitol, the defendant encouraged others

to storm the U.S. Capitol; (4) the defendant recorded video of the rioters entering the U.S. Capitol;

(5) the defendant encouraged rioters to take an officer’s protective shield from the officer’s

possession, and (6) the defendant took to social media and encouraged rioters who remained at the

U.S. Capitol to “hold the line” even after he had left Capitol grounds on January 6.

        The government acknowledges that Straka has since stated that he is “ashamed” of his

behavior and that his decision that day was “one of the stupidest and tragic decisions of his life.”

       This remorse is a mitigating factor in favor of the defendant. Other mitigating factors that

may be considered are: (1) the defendant did not enter the U.S. Capitol Building; (2) the defendant



                                                 26
        Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 27 of 30




voluntarily met with FBI after his arrest and provided information about his conduct and other

aspects of January 6; and (3) defendant’s early acceptance of responsibility.

       While many of the defendants sentenced to home detention share a common fact in that

they entered the U.S. Capitol, these cases are comparable to his case. In United States v. Jessica

Bustle, 21-cr-238-TFH, the Court sentenced the defendant to 2 months home detention. Bustle

entered the U.S. Capitol for approximately 20 minutes. She did not conduct any assaultive or

destructive behavior inside of the U.S. Capitol. Like Straka, Bustle also approached the Capitol

from the east front and did not initially witness the violence and struggle that was more readily

apparent to individuals who came near the large struggles near the inaugural stage. Bustle also

attempted to minimize and at times justify the rioters’ conduct on January 6. She also posted a

number of social media posts such as writing “we stormed the Capitol” and referring to former

Vice President Pence as a “traitor.” Bustle also posted, “We didn’t win this thing sitting on the

sidelines. Excited to stand for truth with my fellow patriots and freedom fights in DC today.”

       In another case, United States v. Andrew Bennett, 21-cr-227-JEB, the Court imposed a

sentence of 3 months home detention. Prior to January 6, Bennett posted, “You better be ready

chaos is coming and I will be in DC on 1/6/2021 fighting for my freedom!” Before the breach

occurred, Bennett livestreamed the crowd outside of the U.S. Capitol while the crowd yelled at an

officer shooting less-than-lethal munition at the growing crowd. Bennett did enter the U.S. Capitol

and remained inside approximately 25 minutes. Bennett boasted on social media about his

unlawful entry. Bennett also had a criminal history which included five criminal convictions. The

Court considered the aggravating factors to be Bennett’s January 4, 2021 posts and noted that the

posts showed that Bennett had an intent to do more than watch the rally. Bennett also claimed an

affiliation to the Proud Boys. The Court also considered mitigating factors as well: Bennett



                                                27
         Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 28 of 30




admonished others to not assault officers or destroy property; Bennett cooperated fully and early;

Bennett complied with pretrial services; Bennett did not destroy evidence; Bennett had a history

of steady employment.

         Here, the Court should also consider the sentences in Bustle and Bennett to be imposed on

Straka. Straka was away from the U.S. Capitol when he heard about the breach. Instead of

remaining outside of the U.S. Capitol grounds, Straka went to the riot. Straka’s appearance only

made responding officers’ responsibilities more difficult. While law enforcement inside and

outside of the U.S. Capitol attempted to diffuse the riot, individuals such as Straka incited the

rioters to remain at the U.S. Capitol. Straka went further by encouraging the rioters to enter the

U.S. Capitol. Straka can be heard on video yelling and telling the rioters to “go, go, go” as they

attempted to enter the U.S. Capitol. Additionally, Straka sanctioned the seizure of a police

officer’s shield while the officer attempted to keep out the crowd of rioters growing closer to the

U.S. Capitol. Straka can be heard saying “take it, take it.” Straka’s actions escalated the conduct

of the rioters.

        Straka’s primary occupation is as an influencer. Having embraced that vocation, he must

be cognizant of his power to influence others. Undoubtedly, Straka’s hundreds of thousands of

social media followers were tuned into his presence at the U.S. Capitol on January 6 and saw him

encouraging them to join in and continue the unrest. Straka did nothing to display to these

followers that his conduct was shameful. He even boasted about his conduct by posting about the

riot the following day.

        Straka’s conduct on January 6 was egregious based on the conduct captured in Exhibit 1.

Considering the aggravating and mitigating factors, the government’s request for a sentence of

four-months home detention satisfies the sentencing factors in § 3553(a).



                                                28
         Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 29 of 30




        In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095.

   V.      Conclusion

        Sentencing requires the Court to carefully balance the § 3553(a) factors. As explained

herein, some of those factors support a sentence of incarceration and some support a more lenient

sentence. Balancing these factors, the government recommends that this Court sentence Brandon

Straka to four months home detention, a probationary term of three years, no less than 60 hours of

community service, and $500 in restitution. Such a sentence protects the community, promotes




                                                29
        Case 1:21-cr-00579-DLF Document 36 Filed 01/13/22 Page 30 of 30




respect for the law, and deters future crime by imposing restrictions on his liberty as a consequence

of his behavior, while recognizing his early acceptance of responsibility.

                                              Respectfully submitted,

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